                                                        Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 1 of 9




                                                1   Christopher M. Curran (pro hac vice)
                                                    ccurran@whitecase.com
                                                2
                                                    Lucius B. Lau (pro hac vice)
                                                3   alau@whitecase.com
                                                    Dana E. Foster (pro hac vice)
                                                4
                                                    defoster@whitecase.com
                                                5   White & Case LLP
                                                    701 Thirteenth Street, N.W.
                                                6
                                                    Washington, DC 20005
                                                7   Telephone: (202) 626-3600
                                                    Facsimile: (202) 639-9355
                                                8
                                                9   Counsel to Defendants Toshiba Corporation,
                                                    Toshiba America, Inc., Toshiba America
                                               10
                                                    Information Systems, Inc., Toshiba America
                                               11   Consumer Products, L.L.C., and Toshiba
                                                    America Electronic Components, Inc.
                                               12
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13   [Additional stipulating parties on signature
                                                    page]
                                               14
                                               15                               UNITED STATES DISTRICT COURT
                                                                               NORTHERN DISTRICT OF CALIFORNIA
                                               16
                                                                                  (SAN FRANCISCO DIVISION)
                                               17
                                               18
                                                      IN RE: CATHODE RAY TUBE (CRT)                            Case No. 07-5944 JST
                                               19     ANTITRUST LITIGATION                                        MDL No. 1917
                                               20
                                                    This Document Relates to:
                                               21
                                                    Best Buy Co., Inc. et al. v. Hitachi Ltd., et al.,   THE TOSHIBA DEFENDANTS AND
                                               22                                                        DAPS’ STIPULATION AND
                                                    No. 3:11-cv-05513;
                                               23                                                        [PROPOSED] ORDER REGARDING
                                                    Best Buy Co., Inc., et al. v. Technicolor SA, et     THE COURT’S DECEMBER 8, 2015
                                               24                                                        ORDER DIRECTING THE TOSHIBA
                                                    al., No. 13-cv-05264;
                                               25                                                        DEFENDANTS TO AMEND THEIR
                                                    CompuCom Systems, Inc. v. Hitachi, Ltd., et          RULE 26 DISCLOSURES
                                               26
                                                    al. No. 2:11-cv-06396;
                                               27
                                               28
                                                                       THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                             AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                            DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                      Case No. 07-5944 JST
                                                                                         MDL No. 1917
                                                        Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 2 of 9




                                                1   Costco Wholesale Corp. v. Hitachi, Ltd, et al.,
                                                    Case No. 11-cv-06397;
                                                2
                                                3   Costco Wholesale Corporation v.
                                                    Technicolor SA, et al., No. 13-cv-05723;
                                                4
                                                5   Electrograph Systems, Inc., et al. v. Hitachi,
                                                    Ltd., et al., No. 3:11-cv-01656;
                                                6
                                                7   Electrograph Systems, Inc., et al. v.
                                                    Technicolor SA, et al., No. 13-cv-05724;
                                                8
                                                9   Interbond Corp. of Am. v. Hitachi, Ltd. et al.,
                                                    No. 3:11-cv-06275;
                                               10
                                               11   Interbond Corp. of Am. v. Technicolor SA,
                                                    et al., No. 13-cv-05727;
                                               12
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13   P.C. Richard & Son Long Island Corp., et al.,
                                                    v. Hitachi, Ltd., et al.¸ No. 3:12-cv-02648;
                                               14
                                               15   P.C. Richard & Son Long Island Corporation,
                                                    et al. v. Technicolor SA, et al., No. 13-cv-
                                               16
                                                    05725;
                                               17
                                                    Schultze Agency Services, LLC v. Hitachi,
                                               18
                                                    Ltd., et al., No. 3:12-cv-2649;
                                               19
                                                    Schultze Agency Services, LLC v. Technicolor
                                               20
                                                    SA, Ltd., et al., No. 13-cv-05668;
                                               21
                                                    Sharp Elec. Corp. v. Hitachi, Ltd., et al. No.
                                               22
                                                    3:13-cv-01173;
                                               23
                                                    Sharp Elec. Corp., et al. v. Koninklijke
                                               24
                                                    Philips Electronics N.V., et al., No. 13-cv-
                                               25   2776; and
                                               26
                                                    Tech Data Corp., et al. v. Hitachi, Ltd., et al.,
                                               27   No.13-cv-00157.
                                               28
                                                                       THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                             AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                            DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                      Case No. 07-5944 JST
                                                                                         MDL No. 1917
                                                        Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 3 of 9




                                                1           Defendants Toshiba Corporation, Toshiba America, Inc., Toshiba America
                                                2   Information Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba
                                                3   America Electronic Components, Inc. (collectively, the “Toshiba Defendants”) and the
                                                4   undersigned Direct Action Plaintiffs (the “DAPs”) have conferred by and through their
                                                5   counsel and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
                                                6           WHEREAS, on August 1, 2014, the Toshiba Defendants served the Plaintiffs with the
                                                7   Toshiba Entities’ Amended Rule 26(a)(1) Initial Disclosures, thereby adding five people,
                                                8   including Tomohito Amano, to their Rule 26(a)(1) Initial Disclosures as individuals who may
                                                9   have information that the Toshiba Defendants may use to support their claims or defenses;
                                               10           WHEREAS, on September 2, 2014, the Plaintiffs filed a motion with Special Master
                                               11   Walker seeking an order compelling the depositions of Mr. Amano and the four other
                                               12   individuals added to the Toshiba Defendants’ Rule 26(a)(1) Initial Disclosures on August 1,
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13   2014;
                                               14           WHEREAS, on October 1, 2014, the Toshiba Defendants served the Plaintiffs with the
                                               15   Toshiba Entities’ Second Amended Rule 26(a)(1) Initial Disclosures, thereby withdrawing
                                               16   Mr. Amano from their Rule 26(a)(1) Initial Disclosures as an individual who may have
                                               17   information that the Toshiba Defendants may use to support their claims or defenses;
                                               18           WHEREAS, on November 20, 2014, Special Master Walker issued the Order re
                                               19   Plaintiffs’ Motion to Compel Depositions of Toshiba Witnesses (Dkt. No. 3146), in which
                                               20   Special Master Walker granted the Plaintiffs’ motion to compel, concluded that the Toshiba
                                               21   Defendants “failed to update [their] Rule 26 initial disclosures,” and ordered the Toshiba
                                               22   Defendants to amend their Rule 26(a)(1) Initial Disclosures regarding Mr. Amano;
                                               23           WHEREAS, on November 24, 2014, the Toshiba Defendants filed Objections to the
                                               24   Special Master’s November 20, 2014 Recommended Order (“Objections”) (Dkt. No. 3154), in
                                               25   which the Toshiba Defendants argued, in part, that they had no obligation to update their Rule
                                               26   26(a)(1) Initial Disclosures;
                                               27
                                               28
                                                                       THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                             AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                            DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                      Case No. 07-5944 JST
                                                                                         MDL No. 1917
                                                        Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 4 of 9




                                                1          WHEREAS, on November 23, 2015, the Court held a hearing regarding the Toshiba
                                                2   Defendants’ Objections and sustained the Objections in part;
                                                3          WHEREAS, on November 23, 2015, the Court issued a Minute Entry (Dkt. No. 4208)
                                                4   directing the parties to confer regarding proposed language regarding Mr. Amano to include
                                                5   in the Toshiba Defendants’ Rule 26(a)(1) Initial Disclosures, and directing that, by December
                                                6   10, 2015, the Toshiba Defendants either file a proof of service of their amended Rule 26(a)(1)
                                                7   Initial Disclosures (if the parties agreed on proposed language regarding Mr. Amano), or for
                                                8   the parties to submit competing proposals to the Court (if the parties were unable to agree on
                                                9   proposed language);
                                               10          WHEREAS, on December 8, 2015, the Court issued the Order Adopting in Part and
                                               11   Denying in Part Report and Recommendation (Dkt. No. 4228), in which the Court inter alia,
                                               12   held that the Toshiba Defendants did not breach any discovery obligation and had no
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13   obligation to update their Rule 26(a)(1) Initial Disclosures, and extended the deadline until
                                               14   December 17, 2015, for either the Toshiba Defendants to file a proof of service of their
                                               15   amended Rule 26(a)(1) Initial Disclosures or for the parties to submit competing proposals;
                                               16          WHEREAS, the parties conferred pursuant to the Court’s December 8, 2015 order;
                                               17          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED among the
                                               18   undersigned parties as follows:
                                               19          1. The Toshiba Defendants need not further amend their Rule 26(a)(1) Initial
                                               20              Disclosures with respect to Tomohito Amano; and therefore
                                               21          2. The Toshiba Defendants need not file a proof of service with the Court.
                                               22
                                               23   PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                               24
                                               25          December 18, 2015
                                                    Dated:___________________                   ___________________________________
                                               26                                                     Hon. Jon S. Tigar
                                               27                                                     United States District Judge

                                               28
                                                                      THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                            AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                           DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                     Case No. 07-5944 JST
                                                                                        MDL No. 1917
                                                                                               2
                                                     Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 5 of 9




                                                1                                      Respectfully submitted,
                                                2
                                                    Dated: December 17, 2015
                                                3
                                                4
                                                                                   By: /s/ Lucius B. Lau
                                                5                                     Christopher M. Curran (pro hac vice)
                                                                                      ccurran@whitecase.com
                                                6
                                                                                      Lucius B. Lau (pro hac vice)
                                                7                                     alau@whitecase.com
                                                                                      Dana E. Foster (pro hac vice)
                                                8
                                                                                      defoster@whitecase.com
                                                9                                     701 Thirteenth Street, N.W.
                                                                                      Washington, DC 20005
                                               10
                                                                                      tel.: (202) 626-3600
                                               11                                     fax: (202) 639-9355
                                               12
                   701 Thirteenth Street, NW




                                                                                       Counsel to Defendants Toshiba Corporation,
                    Washington, DC 20005
White & Case LLP




                                               13                                      Toshiba America, Inc., Toshiba America
                                                                                       Information Systems, Inc., Toshiba America
                                               14
                                                                                       Consumer Products, L.L.C., and Toshiba
                                               15                                      America Electronic Components, Inc.
                                               16
                                                                                   By: /s/ Roman Silberfeld
                                               17                                     Roman Silberfeld
                                                                                      David Martinez
                                               18
                                                                                      Jill S. Casselman
                                               19                                     ROBINS KAPLAN LLP
                                                                                      2049 Century Park East, Suite 3400
                                               20
                                                                                      Los Angeles, CA 90067-3208
                                               21                                     Telephone: (310) 552-0130
                                                                                      Facsimile: (310) 229-5800
                                               22
                                                                                      Email: rmsilberfeld@robinskaplan.com
                                               23                                              dmartinez@robinskaplan.com
                                                                                               jscasselman@robinskaplan.com
                                               24
                                               25                                      Elliot S. Kaplan
                                                                                       K. Craig Wildfang
                                               26
                                                                                       Laura E. Nelson
                                               27                                      ROBINS KAPLAN LLP
                                               28
                                                                   THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                         AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                        DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                  Case No. 07-5944 JST
                                                                                     MDL No. 1917
                                                                                            3
                                                    Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 6 of 9




                                                1                                    800 LaSalle Avenue
                                                                                     2800 LaSalle Plaza
                                                2
                                                                                     Minneapolis, MN 55402
                                                3                                    Telephone: (612) 349-8500
                                                                                     Facsimile: (612) 339-4181
                                                4
                                                                                     Email: eskaplan@robinskaplan.com
                                                5                                           kcwildfang@robinskaplan.com
                                                                                            lenelson@robinskaplan.com
                                                6
                                                7                                    Counsel for Plaintiffs Best Buy Co., Inc., Best
                                                                                     Buy Purchasing LLC, Best Buy Enterprise
                                                8
                                                                                     Services, Inc., Best Buy Stores, L.P., and
                                                9                                    BestBuy.com, L.L.C.
                                               10
                                                                                 By: /s/ Kenneth A. Gallo
                                               11                                   Kenneth A. Gallo (pro hac vice)
                                                                                    Joseph J. Simon (pro hac vice)
                                               12
                   701 Thirteenth Street, NW




                                                                                    Craig A. Benson (pro hac vice)
                    Washington, DC 20005
White & Case LLP




                                               13                                   PAUL WEISS, RIFKIND, WHARTON &
                                                                                    GARRISON LLP
                                               14
                                                                                    2001 K Street, NW
                                               15                                   Washington, DC 20006
                                                                                    Telephone: (202) 223-7300
                                               16
                                                                                    Facsimile: (202) 223-7420
                                               17                                   Email: kgallo@paulweiss.com
                                                                                            jsimons@paulweiss.com
                                               18
                                                                                            cbenson@paulweiss.com
                                               19
                                                                                     Stephen E. Taylor (SBN 058452)
                                               20
                                                                                     Jonathan A. Patchen (SBN 237346)
                                               21                                    TAYLOR & COMPANY LAW OFFICES, LLP
                                                                                     One Ferry Building, Suite 355
                                               22
                                                                                     San Francisco, California 94111
                                               23                                    Telephone: (415) 788-8200
                                                                                     Facsimile: (415) 788-8208
                                               24
                                                                                     Email: staylor@tcolaw.com
                                               25                                           jpatchen@tcolaw.com
                                               26
                                               27
                                               28
                                                                 THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                       AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                      DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                Case No. 07-5944 JST
                                                                                   MDL No. 1917
                                                                                          4
                                                    Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 7 of 9




                                                1                                    Counsel for Sharp Electronics Corporation;
                                                                                     Sharp Electronics Manufacturing Company of
                                                2
                                                                                     America, Inc.
                                                3
                                                                                 By: /s/ Philip J. Iovieno
                                                4
                                                                                    Philip J. Iovieno
                                                5                                   Anne M. Nardacci
                                                                                    BOIES, SCHILLER & FLEXNER LLP
                                                6
                                                                                    30 South Pearl Street, 11th Floor
                                                7                                   Albany, NY 12207
                                                                                    Telephone: (518) 434-0600
                                                8
                                                                                    Facsimile: (518) 434-0665
                                                9                                   Email: piovieno@bsfllp.com
                                               10
                                                                                     William A Isaacson
                                               11                                    BOIES, SCHILLER & FLEXNER LLP
                                                                                     5301 Wisconsin Ave, NW, Suite 800
                                               12
                   701 Thirteenth Street, NW




                                                                                     Washington, DC 20015
                    Washington, DC 20005
White & Case LLP




                                               13                                    Telephone: (202) 237-2727
                                                                                     Facsimile: (202) 237-6131
                                               14
                                                                                     Email: wisaacson@bsfllp.com
                                               15
                                                                                     Stuart Singer
                                               16
                                                                                     BOIES, SCHILLER & FLEXNER LLP
                                               17                                    401 East Las Olas Blvd., Suite 1200
                                                                                     Fort Lauderdale, FL 33301
                                               18
                                                                                     Telephone: (954) 356-0011
                                               19                                    Facsimile: (954) 356-0022
                                                                                     Email: ssinger@bsfllp.com
                                               20
                                               21                                    Liaison Counsel for Direct Action Plaintiffs and
                                                                                     Attorneys for Plaintiffs Electrograph Systems,
                                               22
                                                                                     Inc., Electrograph Technologies Corp., Office
                                               23                                    Depot, Inc., CompuCom Systems, Inc., Interbond
                                                                                     Corporation of America, P.C. Richard & Son
                                               24
                                                                                     Long Island Corporation, MARTA Cooperative of
                                               25                                    America, Inc., ABC Appliance, Inc., Schultze
                                                                                     Agency Services LLC on behalf of Tweeter Opco,
                                               26
                                                                                     LLC and Tweeter Newco LLC, and Tech Data
                                               27
                                               28
                                                                 THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                       AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                      DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                Case No. 07-5944 JST
                                                                                   MDL No. 1917
                                                                                          5
                                                        Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 8 of 9




                                                1                                                 Corporation and Tech Data Product Management,
                                                                                                  Inc.
                                                2
                                                3                                             By: /s/ David G. Burman
                                                                                                 David J. Burman (pro hac vice)
                                                4
                                                                                                 Cori G. Moore (pro hac vice)
                                                5                                                Eric J. Weiss (pro hac vice)
                                                                                                 Nicholas H. Hesterberg (pro hac vice)
                                                6
                                                                                                 Steven D. Merriman (pro hac vice)
                                                7                                                PERKINS COIE LLP
                                                                                                 1201 Third Avenue, Suite 4900
                                                8
                                                                                                 Seattle, WA 98101-3099
                                                9                                                Telephone: (206) 359-8000
                                                                                                 Facsimile: (206) 359-9000
                                               10
                                                                                                 Email: dburman@perkinscoie.com
                                               11                                                        cgmoore@perkinscoie.com
                                                                                                         ehweiss@perkinscoie.com
                                               12
                   701 Thirteenth Street, NW




                                                                                                         nhesterberg@perkinscoie.com
                    Washington, DC 20005
White & Case LLP




                                               13                                                        smerriman@perkinscoie.com
                                               14
                                                                                                  Joren Bass, Bar No. 208143
                                               15                                                 PERKINS COIE LLP
                                                                                                  505 Howard Street, Suite 1000
                                               16
                                                                                                  San Francisco, CA 94105
                                               17                                                 Telephone: (415) 344-7120
                                                                                                  Facsimile: (415) 344-7320
                                               18
                                                                                                  Email: jbass@perkinscoie.com
                                               19
                                                                                                  Counsel for Plaintiff Costco Wholesale
                                               20
                                                                                                  Corporation
                                               21
                                               22
                                               23          Pursuant to Civil Local Rule 5-1(i)(3), the filer attests that the concurrence in the filing
                                               24   of this document has been obtained from each of the above signatories.
                                               25
                                               26
                                               27
                                               28
                                                                      THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                            AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                           DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                     Case No. 07-5944 JST
                                                                                        MDL No. 1917
                                                                                               6
                                                       Case 3:07-cv-05944-JST Document 4262 Filed 12/18/15 Page 9 of 9




                                                1                                CERTIFICATE OF SERVICE

                                                2         On December 17, 2015, I caused a copy of the “THE TOSHIBA DEFENDANTS

                                                3   AND DAPS’ STIPULATION AND [PROPOSED] ORDER REGARDING THE COURT’S

                                                4   DECEMBER 8, 2015 ORDER DIRECTING THE TOSHIBA DEFENDANTS TO AMEND

                                                5   THEIR RULE 26 DISCLOSURES” to be electronically filed via the Court’s Electronic

                                                6   Case Filing System, which constitutes service in this action pursuant to the Court’s order of

                                                7   September 29, 2008.

                                                8
                                                9
                                               10                                                 By: /s/ Lucius B. Lau
                                                                                                      Lucius B. Lau
                                               11
                                               12
                   701 Thirteenth Street, NW
                    Washington, DC 20005
White & Case LLP




                                               13
                                               14
                                               15
                                               16
                                               17
                                               18
                                               19
                                               20
                                               21
                                               22
                                               23
                                               24
                                               25
                                               26
                                               27
                                               28
                                                                     THE TOSHIBA DEFENDANTS AND DAPS’ STIPULATION
                                                           AND [PROPOSED] ORDER REGARDING THE COURT’S DECEMBER 8, 2015 ORDER
                                                          DIRECTING THE TOSHIBA DEFENDANTS TO AMEND THEIR RULE 26 DISCLOSURES
                                                                                    Case No. 07-5944 JST
                                                                                       MDL No. 1917
